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John S. Gay 882614

Columbia Correctional Institution
216 S.E. Corrections Way

Lake City, PL 32025

CERTPICATE OF SERVICE

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